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IN THE UNITED sTATES Dlsri¥té*igé`@)d§i°’ '*5
FOR THE WESTERN DISTRICT oF

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SHERRY MONTGOMERY,

Plaintiff, Case No.: 04-2480 D AN

V.

COMMISSIONER OF SOCIAL SECURITY,

Defendant.

 

ORDER DISMISSING CASE FOR FAILURE TO PROSECUTE

 

Plaintiff, Sherry Montgomery, filed a pro se complaint pursuant to 42 U.S.C. § 405(g)
seeking review of an adverse determination by the Administrative Law Judge. The court entered a
briefing schedule on Novernber 16, 2004, which provided as follows:

The issues in the above-referenced matter having been joined, it is hereby ordered
that the following schedule shall be followed:

1. Appellant shall file a brief in support of the asserted claim
within 30 days of the entry hereof.

2. Appellee’s brief in response shall be filed within 30 days of
the filing of the appellant’s brief.

3. Reply brief may be filed within 10 days of the filing of
appellee’s response brief.

Appellant has failed to file a brief as ordered by the court, or to take any steps to prosecute

her appeal.

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Because Plaintiff has failed to abide by the court’s order, Plaintiff’s petition is hereby

dismissed

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DONALD
TED STATES DISTRICT IUDGE

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Notice of Distribution

This notice confirms a copy of the document docketed as number 16 in
case 2:04-CV-02480 Was distributed by faX, mail, or direct printing on
September 7, 2005 to the parties listed.

 

 

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Honorable Bernice Donald
US DISTRICT COURT

